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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                     Plaintiff,

  v.                                                    Case No. 1:17-cv-02511-RJL

 AT&T INC., DIRECTV GROUP
 HOLDINGS, LLC, and
 TIME WARNER INC.,

                     Defendants.



            ERRATA FOR PLAINTIFF’S REDACTED AND SEALED TRIAL BRIEF

 Location                          Original Text                     Corrected Text
 Page 1                            acquiesce.                        acquiesce.”
 Page 31                           at i, 6 (June, 21,                at 11 (June 21,
 Page 69                           Thomas DeMatteo                   ----------

       Plaintiff submits this Errata to correct the following errors in both the sealed and redacted

versions of Plaintiff’s Trial Brief, submitted as Docket Nos. 75 and 76 respectively, on March 9,

2018: 1) add a quotation mark to close a quote on page 1; 2) correct an inaccurate pin cite and

remove a comma in a reference on page 31; and 3) remove Thomas DeMatteo’s name from the

signature page, which was inadvertently included and is being removed after Mr. DeMatteo

promptly notified us that he has not yet been sworn in as an attorney. A corrected copy of the

Redacted Trial Brief of the United States is attached as Exhibit A, and a corrected copy of the

un-redacted Trial Brief of the United States will be filed under Seal.




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Dated: March 12, 2018               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 12, 2018, I caused a true and correct copy of the

foregoing to be served upon the parties of record via email.



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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

       Plaintiff,                           Civil Action No. 1:17-cv-02511 (RJL)

  v.                                        [REDACTED VERSION]

AT&T INC., DIRECTV GROUP HOLDINGS,
LLC, and TIME WARNER, INC.,

       Defendants.



                      TRIAL BRIEF OF THE UNITED STATES
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I.        INTRODUCTION

          If TV-program distributor AT&T acquires TV-program producer Time Warner,

    American consumers will end up paying hundreds of millions of dollars more than they do now

    to watch their favorite programs on TV. In short, the transaction violates Section 7 of the

    Clayton Act, because its effect “may be substantially to lessen competition.” Prices for current

    services will go up and development of emerging competition will slow down. And we know

    this because the defendants themselves have told us so:

          AT&T: AT&T, now that it proposes to buy Time Warner, finds the United States’

    theory of anticompetitive consequences “inexplicable.” Before it cut the deal, however, AT&T

    had no trouble at all explaining to the Federal Communications Commission that, when

    program distributors acquire content producers, the resulting vertically integrated firms “have

    the incentive and ability to use (and indeed have used whenever and wherever they can) that

    control as a weapon to hinder competition.” 1

          DirecTV: DirecTV too—before it was acquired by AT&T—saw things much the same

    way, telling the Federal Communications Commission while it was evaluating the

    Comcast/NBCU merger, that (1) a “vertically integrated programmer can much more credibly

    threaten to withhold programming from rival MVPDs [Multichannel Video Programming

    Distributors] than can a non-integrated programmer” and (2) “the proposed transaction would

    enable Comcast/NBCU to use such threats to demand higher prices and more favorable term—

    and withhold programming from any MVPD that failed to acquiesce." DirecTV specifically

    concluded that vertical integration of programming and distribution can “give the integrated




1
 Compare Press Release, David R. McAtee II, Senior Vice President and General Counsel,
AT&T, Inc. (Nov. 20, 2017), with PX0002-004

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    entity the incentive and ability to gain an unfair advantage over its rivals. This ultimately

    results in higher prices and lower quality service for consumers.” 2

          These express concessions will be backed up and reinforced at trial by confirming

    evidence—internal documents from the files of defendants and others, informed opinions from

    expert witnesses who have carefully studied the industry generally and this transaction in

    particular, and, most importantly, multiple knowledgeable industry participants who work in the

    marketplace day in and day out. Thus, expertise and real-world experience alike will

    demonstrate that this proposed transaction poses an unacceptable threat to competition and

    consumers.

          What is the defendants’ response to all this? It is fourfold. First, there is the Star Wars

    defense: everything the government is telling the Court is stale and out of context—it is from a

    long time ago in a galaxy far, far away. Not so. To the contrary, as will be shown at trial, the

    government is challenging this merger to address the real concerns of real people who populate

    the real marketplace today. And tomorrow as well, since the acquisition would give AT&T a

    new tool to slow down the development and growth of disruptive online competitors in the

    future. The fact that this is an evolving industry does not provide a reason to let the challenged

    acquisition proceed. Just the opposite: It provides a compelling additional reason why it

    should be blocked. AT&T can profess it wants to lead the charge to the future, but its internal

    documents reveal a less attractive reality. Specifically, they show starkly that, in fact, AT&T

    recognizes the




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                                  of the future. 3 For current consumers of traditional pay-TV

    content, economic modelling shows that the merger will mean paying for the equivalent of 13

    months of Turner content per year, while getting only 12. That’s pure overcharge consumers

    will have to pay without getting anything in return. And perhaps even more significant, the

    decision in this case will chart the course for the future of video-content delivery in the United

    States—either important video content will be available through a competitive market to all

    distributors, including up-and-coming innovators, or it will likely only be available through

    vertically integrated, well-funded silos.

          Second, defendants argue that this is a vertical merger and therefore undeserving of

    scrutiny. But the Clayton Act is directed at all acquisitions, and tests them all by the same

    standard—whether they will likely lead to a substantial lessening of competition. The fact that

    most vertical mergers (like most horizontal mergers) are procompetitive or competitively

    neutral is immaterial to that inquiry. Indeed, Congress amended the Clayton Act in 1950 to

    specifically include vertical mergers under Section 7. Here, the critical question is this: Would

    consumers quit subscribing to AT&T’s competitors and switch to AT&T if they did not carry

    Time Warner content, thus allowing AT&T to increase the price of that content? If so, the

    merger will allow AT&T to increase its rivals’ costs—and those higher costs will, in turn, be

    passed on to consumers. At trial, the United States will prove that the answer to this critical

    question is yes: Time Warner’s content is competitively significant—in fact, in defendants’

    own words it is more than significant, Time Warner content is “must have.”

          Third, defendants claim that, with the merger, they will achieve efficiencies they could

    not achieve otherwise. But defendants’ efficiency claims are a mile wide and an inch deep—



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ranging everywhere from

    , but never with the solid documentation and verification that the law demands. Their most

speculative claimed efficiency benefit is a



        Other categories of supposed efficiencies,

                                           , could likely be accomplished without the need for a

merger through ordinary arm’s-length agreements between the parties—indeed, such

agreements are common in this industry.

      Fourth, defendants filed a self-contradictory answer that is 29 pages long but boils down

to this: our merger poses no competitive problem … and, besides, we have a cure for it!

Reality, however, is that the proposed merger would be decidedly anticompetitive. And

defendants’ proposed “cure”—an offer made to competitors post-Complaint promising to

engage in “baseball-style” arbitration to license Time Warner content for the next seven

years—is no cure at all. It is a fundamentally flawed effort to undermine the free market

solution by merely offering to behave in a way that is contrary to the merged company’s natural

business incentives and interests. With no oversight. And, if this sort of do-it-yourself price

regulation is sufficient to cure structural harm to the market in this merger, why wouldn’t it be

appropriate in every merger? Why wouldn’t it be sufficient, in a merger of the only two

companies in a market, for the merged company to offer customers the option of appealing any

price offering to an arbitrator? Defendants’ theory is simply inconsistent with the purpose of

Section 7—to protect the market structures that ensure welfare-enhancing competition.

      Moreover, defendants’ arbitration offer would turn into a pumpkin after seven years—

leaving the combined firm with no restraint at all on its ability to act on the incentives to harm



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    competition that this merger creates. Indeed, AT&T’s internal analysis—performed before it

    entered into the Time Warner deal—of what AT&T itself will face when the Comcast/NBCU

    decree expires six months from now highlights why this is a problem. In AT&T’s own words,



                                                                    4



II.       TRIAL BRIEF OVERVIEW

          In the sections that follow in this trial brief, the United States will first provide

    background on defendants and their proposed merger. We will then briefly discuss the legal

    standards relevant to this case. Next, we will turn our attention to industry background. And

    then, in the context of the foregoing, we will provide a detailed discussion of the evidence

    proving that the effect of the proposed AT&T-Time Warner merger “may be substantially to

    lessen competition” in violation of Section 7. We will then address the would-be merging

    parties’ defenses—demonstrating that none should permit their proposed transaction to proceed.

    Finally, we will provide a preview of what we anticipate the trial in this case will be like. (In

    addition, attached to this brief is an appendix that provides a glossary of terms, abbreviations

    and acronyms used in the industry)

III.      BACKGROUND: DEFENDANTS & THE PROPOSED MERGER

          A.      Defendants

          AT&T. AT&T is the world’s largest telecommunications company, by revenue, and one

    of the country’s leading business enterprises. AT&T is no stranger to the antitrust laws. Over

    the years, AT&T has been a defendant in many antitrust actions. In 1982, following nearly a

    decade of litigation, a decree was entered in United States v. AT&T, 552 F. Supp. 131 (D.D.C.



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1982), that required AT&T to divest itself of seven Regional Bell Operating Companies (the so-

called Baby Bells). In the divestiture, AT&T kept its long-distance business and the Baby Bells

took over local phone services.

      Consolidation among the Baby Bells followed. For example, Southwestern Bell acquired

Ameritech, BellSouth, and Pac Bell. In 2005, Southwestern Bell (then known as SBC

Communications) acquired AT&T for $16 billion and changed its corporate name to AT&T.

Growth through acquisition has continued, with AT&T, most prominently, purchasing DirecTV

in 2015 for $67 billion.

      Today, AT&T sells video, internet, voice, and data services to customers across the

United States. With its acquisition of DirecTV, it has become the largest video programming

distributor in the United States, with over 25 million subscribers. AT&T has three MVPD

offerings: (1) DirecTV, a nationwide satellite-based service with over 20 million subscribers,

(2) U-Verse, a service using AT&T’s local fiber optic and copper networks with over 3 million

subscribers, and (3) DirecTV Now, a new online video service that has already signed up over a

million subscribers.

      DirecTV. DirecTV provides television and audio services to subscribers across the

country through satellite transmissions. Its subscribers have access to hundreds of channels. In

2010, DirecTV opposed the purchase of NBCU by Comcast, submitting an economic analysis

to demonstrate the likely anticompetitive effects of the transaction using a Nash bargaining

model, just like the analysis the government’s expert Dr. Carl Shapiro will present at trial here.

As noted above, DirecTV was acquired by AT&T in 2015 for $67 billion and today has over 20

million subscribers. DirecTV specifically concluded that vertical integration of programming

and distribution can “give the integrated entity the incentive and ability to gain an unfair



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          On the day the United States filed this action, AT&T’s CEO, sounding a bit like Captain

    Renault in the classic Warner Bros. film Casablanca, 8 proclaimed that he was surprised—

    “surprised to be here.” Thomson Reuters, Transcript of AT&T Press Conf. at 2 (Nov. 20,

    2017). But a year earlier, when the deal was announced, the New York Times predicted it was

    “likely to face tough scrutiny.” Michael J. de la Merced, AT&T Pledges $83 Billion to Acquire

    Time Warner, N.Y. TIMES, Oct. 23, 2016, at A1. The Wall Street Journal echoed, stating that

    the transaction “will be in for a lengthy regulatory review and, at the very least, tough

    conditions.” Shalini Ramachandran & Thomas Gryta, AT&T’s Bid for Time Warner Would

    Face Obstacles, WALL ST. J., Oct. 21, 2016. And in a candid moment, approximately 10 days

    prior to the filing of the present action by the United States, AT&T’s CEO, Randall Stephenson,

    himself conceded that “[s]ince the day we've announced this, we’ve been preparing to litigate

    this deal, and we have been working very diligently on a litigation strategy and a litigation

    plan.” David Ng, AT&T CEO Randall Stephenson Says He Is Prepared to Litigate Time

    Warner Deal, L.A. TIMES, Nov. 9, 2017.

IV.       LEGAL STANDARDS 9

          The plain language of Section 7 of the Clayton Act states that “[n]o person … shall

    acquire [assets] … where in any line of commerce or … in any section of the country, the effect

    of such acquisition may be substantially to lessen competition, or to tend to create a monopoly.”

    15 U.S.C. § 18 (emphasis added). Section 7 applies equally to mergers of all stripes. “All

    mergers are within the reach of [Section] 7, and all must be tested by the same standards,




8
  CASABLANCA (Warner Bros. 1942) (Captain Renault: “I’m shocked, shocked to find that
gambling is going on in here!”).
9
  At the Court’s direction, the law setting out each side’s burdens will be discussed more fully in
a separate filing.

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whether they are classified as horizontal, vertical, conglomerate or other.” FTC v. Procter &

Gamble Co., 386 U.S. 568, 577 (1967) (emphasis added).

      Section 7 “creates a relatively expansive definition of antitrust liability,” and “subjects

mergers to searching scrutiny.” California v. Am. Stores Co., 495 U.S. 271, 284, 285 (1990).

“To establish a Section 7 violation, plaintiff must show that a pending acquisition is reasonably

likely to cause anticompetitive effects.” United States v. H&R Block, Inc., 833 F. Supp. 2d 36,

49 (D.D.C. 2011) (quotation omitted). As the statutory text indicates, merger review is

concerned with “probabilities, not certainties,” Brown Shoe Co. v. United States, 370 U.S. 294,

323 (1962), given that Congress “intended to arrest anticompetitive tendencies in their

‘incipiency,’” United States v. Phila. Nat’l Bank, 374 U.S. 321, 362 (1962) (quoting Brown

Shoe, 370 U.S. at 317). “A certainty, even a high probability, need not be shown,” and “doubts

are to be resolved against the transaction.” FTC v. Elders Grain, Inc., 868 F.2d 901, 906 (7th

Cir. 1989).

      “A burden-shifting analysis applies to consider the merger’s effect on competition.”

United States v. Anthem, Inc., 855 F.3d 345, 349 (D.C. Cir. 2017). “To establish a prima facie

case, the Government must (1) propose the proper relevant market and (2) show that the effect

of the merger in that market is likely to be anticompetitive.” FTC v. Penn State Hershey Med.

Ctr., 838 F.3d 327, 337-38 (3d Cir. 2016). Once the plaintiff makes a prima facie case, the

burden shifts to the defendant to produce evidence to rebut the case. Anthem, 855 F.3d at 349

(alteration in original). “Upon rebuttal by the defendant, ‘the burden of producing additional

evidence of anticompetitive effect shifts to the [plaintiff], and merges with the ultimate burden

of persuasion, which remains with the [plaintiff] at all times.’” Id. at 350 (quoting United

States v. Baker Hughes Inc., 908 F.2d 981, 983 (D.C. Cir. 1990)). In a vertical-merger case, the



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 plaintiff makes its prima facie case with case-specific evidence of a danger of future

 competitive harm. See Brown Shoe, 370 U.S. at 329. 10

       Defendants would make much of the fact that most vertical mergers do not threaten

 competitive harm. See, e.g., U.S. Dep’t of Justice, Non-Horizontal Merger Guidelines § 4.0

 (1984). But neither do most horizontal mergers. See U.S. Dep’t of Justice & Fed. Trade

 Comm’n, Commentary on the Horizontal Merger Guidelines 1 (2006). The Division has

 highlighted this reality in its Guidelines for over 40 years—from 1982 (“the Department seeks

 to avoid [] unnecessary interference with that larger universe of mergers that are either

 competitively beneficial or neutral,” U.S. Dep’t of Justice, Merger Guidelines § 1 (1982)) to its

 most recent iteration in 2010 (agencies “avoid unnecessary interference with mergers that are

 either competitively beneficial or neutral,” U.S. Dep’t of Justice & Fed. Trade Comm’n

 Horizontal Merger Guidelines § 1 (2010)). The Division reviews thousands of mergers each

 year—horizontal, vertical, and otherwise—and clears all but the scant few that careful analysis

 demonstrates will harm competition. 11

       Thus, defendants are wrong when their economic expert says that “unlike horizontal

 mergers, vertical mergers are generally pro-competitive.” This betrays a fundamental

 misconception about Section 7 and its enforcement. Vertical mergers are not unlike horizontal

 mergers in that they are generally procompetitive; rather, they are like horizontal mergers in



10
   See generally ABA SECTION OF ANTITRUST LAW, MERGERS AND ACQUISITIONS:
UNDERSTANDING THE ANTITRUST ISSUES 367 (4th ed. 2015) (“Current antitrust treatment of
vertical mergers tends to be fact specific, with emphasis on whether a likelihood of harm can be
demonstrated in the particular transaction.”)
11
   See, e.g., Bernard (Barry) A. Nigro, Jr., Deputy Assistant Att’y Gen., Antitrust Div., U.S.
Dep’t of Justice, A Partnership to Promote and Protect Competition for the Benefit of Consumers
(Feb. 2, 2018) (explaining that “[m]ost transactions do not raise competitive concerns,” and that
in 2017 “the Antitrust Division opened an investigation into only 2.7% of proposed transactions,
and issued second requests in only 1.6% of proposed transactions”).

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that both are generally procompetitive. Some specific transactions—both horizontal and

vertical—are not, of course. And that is why, in 1950, after “extensive legislative attention,”

Congress specifically amended Section 7 of the Clayton Act to make clear that it covered

vertical as well as horizontal mergers. Brown Shoe, 370 U.S. at 312, 317. The associated

House Report specifically included vertical mergers within the amendment, stating that “the

law would be violated, even though there did not exist any competition between the acquiring

… and the acquired … firms.” HR. Rep. No. 81-1191 at 11 (1949). Thus, in making

enforcement decisions, as long recognized—and unless the federal enforcement agencies are to

ignore Congress’s specific amendment to cover vertical mergers—the test is not whether a

particular merger is horizontal or vertical, but whether it will likely harm competition.

      The law is clear: in evaluating any merger, a court considers the facts at bar to determine

whether the transaction in question may lessen competition substantially. As the Supreme

Court admonished in United States v. General Dynamics, 415 U.S. 486, 498 (1974), only such

an “examination of the particular market—its structure, history and probable future—can

provide the appropriate setting for judging the probable anticompetitive competitive effect of

the merger.” Cf. FTC v. Arch Coal, Inc., 329 F. Supp. 2d 109, 116-17 (D.D.C. 2004) (“cases

must be resolved on the basis of record evidence relating to the market and its probable

future”). It is unquestionable that vertical mergers can harm competition and consumers. See,

e.g., Steven C. Salop, Invigorating Vertical Merger Enforcement 127 YALE L.J. (forthcoming

2018) (in the current economy, “vertical and complementary product mergers present

heightened concerns”) (manuscript at 29).

      By one count, the Department of Justice and the Federal Trade Commission initiated 52

vertical-merger enforcement actions between 1994 and 2016. Steven C. Salop & Daniel P.



                                               11
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 Culley, Vertical Merger Enforcement Actions: 1994-2016 1 (June 30, 2017). As this Court

 recently observed, a vertical merger that is challenged under the antitrust laws “is not a

 unicorn !” Slip Op. at 6, United States v. AT&T Inc., No. 17-cv-02511-RJL (D.D.C. Feb. 20,

 2018). Some of these actions have involved the same industries and the same types of theories

 as involved in the case at bar. 12 This enforcement activity rests on the premise that

 “competition is our fundamental national economic policy, offering as it does the only

 alternative to the cartelization or governmental regimentation of large portions of the

 economy.” Phila. Nat’l Bank, 374 U.S. at 372.

       Applying longstanding law, sound economic principles and common sense, courts and

 enforcers undertake case-by-case analyses to identify those mergers that pose an

 anticompetitive threat. Cf. Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877

 (2007) (antitrust law “adapts to modern understanding and greater experience” and draws on

 “authorities in the economics literature”). And after enforcers have identified a merger that

 does pose a competitive threat, as here, they bring suit to enjoin it.

      Finally, with respect to relief, defendants act as though they are entitled to a

 Comcast/NBCU type decree to remedy the anticompetitive consequences of the proposed

 merger. But defendants in antitrust actions do not get to select the relief to which the United

 States will agree. Rather, it is the United States, with the review and approval of the Court, that



12
  See, e.g., Competitive Impact Statement at 2, 8-9, United States v. Google Inc., No. 1:11-cv-
00688 (D.D.C. Apr. 8, 2011) (merger would give travel search site control of critical software
and pose a significant risk that merged entity would deny or raise the cost of the software to
competing sites); Competitive Impact Statement at 23-26, United States v. Comcast Corp., No.
1:11-cv-00106 (Jan. 18, 2011) (merged entity would have strong incentive to raise price of
programming to MVPD rivals); In re Time Warner Inc., 123 F.T.C. 171, 180 (1997) (merged
entity would charge rival MVPDs discriminatory high prices for programming); In re Eli Lilly &
Co, Inc., 120 F.T.C. 243, 246 (1995) (merger would enhance coordinated interaction among
vertically integrated pharmaceutical companies).

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 shapes appropriate relief based on its understanding of market circumstances and the efficacy—

 or not—of remedial provisions. And, as the Supreme Court has noted, “[i]t is well settled that

 once the government has successfully borne the considerable burden of establishing a violation

 of law, all doubts as to the remedy are to be resolved in its favor.” United States v. Du Pont &

 Co., 366 U.S. 316, 334 (1961).

       The decision whether to enter into a consent decree like the one in Comcast/NBCU, like

 the decision whether to enter into a deferred prosecution agreement, is fundamentally an

 exercise of prosecutorial discretion. See Massachusetts v. Microsoft Corp., 373 F.3d 1199,

 1236-37 (D.C. Cir. 2004) (citing United States v. Microsoft Corp., 56 F.3d 1448, 1459-60 (D.C.

 Cir. 1995)). Such a consensual resolution is reserved for circumstances where the prosecutor is

 persuaded that there is a way to eliminate the threat of harm to competition with a set of

 conditions to the transaction, and is convinced that using its resources to police compliance

 with those conditions is in the public interest. Of course, the reviewing court must agree that

 the consent decree is in the public interest. Id.; 15 U.S.C. §16(e). But if the prosecutor in the

 first instance is not so convinced, or does not believe that scarce resources should be allocated

 to such oversight, then it is wholly within the discretion of the prosecutor to seek injunctive

 relief instead. In an appropriate exercise of its prosecutorial discretion, the present Department

 of Justice is less interested in entering into consent decrees that require ongoing monitoring of

 promises to behave—often called “behavioral decrees.” 13 Such monitoring may not be the most

 provident use of prosecutorial or judicial resources. Moreover, in this case it is clear that a

 behavioral remedy would be neither wise nor effective. See infra Section VII.D.



13
  See Makan Delrahim, Assistant Att’y Gen., Antitrust Div., U.S. Dep’t of Justice, Antitrust and
Deregulation 5-9 (Nov. 16, 2017), available at https://www.justice.gov/opa/speech/assistant-
attorney-general-makan-delrahim-delivers-keynote-address-american-bar.

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       Here, the United States seeks structural relief. It seeks to block the proposed merger, and

 earlier, at the pre-Complaint stage, it offered to settle this matter with structural relief involving

 partial divestitures. The United States seeks structural relief for the same reason that structural

 relief “has been called the most important of antitrust remedies”—“[i]t is simple, relatively easy

 to administer, and sure.” Du Pont, 366 U.S. at 331. In contrast, behavioral remedies are

 usually short-lived, often difficult to administer and risky. And, here, market circumstances

 suggest, ineffectual. The situation here mirrors that in Ford Motor Co. v. United States, 405

 U.S. 562 (1972), where the Supreme Court specifically addressed the question of how to

 remedy an already consummated vertical transaction that the United States sought to

 unwind. The Court agreed that “[c]omplete divestiture is particularly appropriate where asset

 or stock acquisitions violate the antitrust laws,” id. at 573, and ordered structural relief—as the

 United States seeks here.

       To sum up, where a merger runs afoul of Section 7, the competitive harm that would

 otherwise result from the merger—be it horizontal or vertical—can sometimes be cured with a

 consent decree. And sometimes it cannot. Here, of course, both the merging parties and the

 government advanced proposed consent decrees—behavioral in the case of the defendants and

 structural in the case of the United States. But the two sides were unable to reach agreement.

 Thus, this case.

V.     BACKGROUND: INDUSTRY

       A.      Cast of Characters: Overview

       The video production and distribution industry, sometimes referred to as the “pay TV

 ecosystem,” operates at three levels. First, content is brought to the market by studios like

 Warner Brothers (e.g., a series like Game of Thrones) or sports content providers like Turner

 Sports (e.g., NCAA March Madness). They license that content to programmers. Second,

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programmers—like Turner and HBO—package such programming content into 24/7 networks

(e.g., TNT or HBO) that are, in turn, licensed to video distributors. Third, video distributors—

like DirecTV and Comcast—assemble packages of networks that are sold to customers.

      There are various types of video distributors. MVPDs include cable companies (e.g.,

Comcast), satellite broadcasters (e.g., DirecTV), and telephone companies (e.g., AT&T’s U-

verse service). The vast majority of customers get their pay TV from such traditional MVPDs.

MVPDs bundle broadcasting and basic cable networks into different packages that are sold to

consumers, often along with content available “on demand” (i.e., available at any time, upon

request).

      In recent years, Virtual MVPDs have begun to offer service. Virtual MVPDs employ a

business model similar to traditional MVPDs, but deliver their content to consumers over the

internet, either through an internet browser, an app, or a special internet-connected TV or set

top box. Additionally, some Virtual MVPDs offer “skinny bundles” (i.e., cheaper packages

with fewer channels than an MVPD typically offers). Both MVPDs and Virtual MVPDs

present multiple channels of “linear programming,” meaning a scheduled selection of programs

shown in a time sequence. Live sports and news programming are highly desired components

of linear programming.

      Subscription Video-On-Demand services (SVODs) like Netflix and Amazon Prime also

deliver content to consumers, but do so differently, such that they are not a close substitute for

linear programming providers. SVODs often produce their own content and offer it over the

internet “on demand” instead of at scheduled times over 24/7 channels. This type of

programming is sometimes called “non-linear.” Virtual MVPDs and SVODs are each called

Over-The-Top (or OTT) services because they operate “over the top” of an internet connection



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provided by a third party. OTT services are sometimes called Online Video Distributors

(OVDs).

      B.      The Negotiation of Affiliate Agreements

      Programmers license their content to video distributors (MVPDs, Virtual MVPDs, etc.)

via “affiliate” or “affiliation” agreements. Affiliate agreements are reached through protracted

negotiations, with each side typically making concessions. The terms of these agreements

typically include (1) a monthly “Per Subscriber Per Month” (PSPM) fee paid by the distributor

to the programmer, (2) the share of the distributor’s customers that will receive access to the

programming (the “penetration rate”), (3) “packaging” requirements that specify how the

network will be carried (e.g., on what tier), and (4) one or more most-favored-nation clauses

(MFNs) that guarantee the distributor parity with other distributors on economic and non-

economic terms.

      Programmers and distributors reach agreements through negotiations when there are

positive gains from the deal for both sides—i.e., it is mutually beneficial that the distributor

carry the programming. The terms of the agreement that the parties reach depend on the

options available to each party in the event a deal is not reached. In determining the price it is

willing to pay, a distributor takes into account both (1) the potential loss of subscribers if it does

not have the programming—i.e., if there is a “blackout”—and (2) the potential lost revenue

from selling air time for advertising if it does not have the programming. Thus, programmers

with desirable networks generally have more bargaining leverage than programmers with less

desirable networks. Likewise, in determining the price it is willing to accept, a programmer

takes into account the lost revenue (both PSPM fees and advertising) if the otherwise desirable

programming is not carried. Thus, distributors with large numbers of subscribers generally

have more bargaining leverage than distributors with fewer subscribers.

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      C.       Time Warner’s Unique and Valuable Content

      The content world is vast and broad—some people like Shakespeare, some like baseball,

and some like Sesame Street. Today, Time Warner, Netflix and others are making new shows,

just as many content providers have done in the past and will continue to do in the

future. There’s a lot to watch and a lot of variety, and Americans watch a lot of TV.

      What has always been true, of course, is that video content is not all the same. If a D.C.

resident invites friends over to watch the Nationals in the playoffs one October night,

obviously, the latest Amazon original programming just won’t do as an acceptable alternative.

Content is differentiated, and some shows and networks are more valuable than others. For just

that reason, consumers have long valued breadth from their MVPD services—they buy cable

packages to get a lot of choices, and especially to give them access to the key content they’ve

long expected to get with those services.

      Time and Warner Bros. are both names that have long been near the top of the list for

valuable content, and that history is consistent with the unique content holdings of the current

Time Warner Inc. The Major League Baseball playoffs, NCAA March Madness, Game of

Thrones, the NBA playoffs, and CNN, just to name a few pieces of programming, are

representative of the content that makes Time Warner’s networks among the country’s most

widely carried. No matter what a consumer likes to watch – TNT, TBS, HBO, CNN, Cartoon

Network, or Turner Classic Movies – most like to watch Time Warner content. For that reason,

Time Warner networks are carried with near ubiquity by MVPDs to their consumers all around

the country.

      D.       “The Times They Are A-Changin’”

      The pay-TV ecosystem has experienced significant change during recent years—change

that is still going on and is likely to continue. These developments bring with them increased

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 competition and greater choice for consumers. Increasingly, for example, customers can

 choose to switch to less expensive pay-TV subscriptions and fill in the gaps with online content,

 or even to cut the cord entirely and get all of their content online.

         But—and this is of critical importance—the fact that the number of MVPD subscribers is

 declining as some consumers turn to online options should not distract from the overriding

 reality that the vast majority of American households still subscribe to traditional MVPD

 service and they will continue to do so well into the future. AT&T strategy documents

 explain that




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 Thus, defendants’ suggestion to the Court that firms like Google, Netflix, Amazon, and

 Facebook “are now dominating the industry,” and that AT&T and Time Warner “are merging,

 frankly, to try to keep up,” are just a variation on a common refrain by merging parties who

 claim that their industry is changing rapidly and thereby seek to justify an anticompetitive

 merger. Tr. Pretrial Conf., at 31, 34, United States v. AT&T, Inc., No. 17-cv-02511 (D.D.C.

 Feb. 16, 2018). Indeed, a 2017 analyst report




         U.S. households have few options for MVPD service. The vast majority choose among a

 cable company and the two satellite companies, though consumers in some areas have a fourth




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     PX0174-040.
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 MVPDs, DirecTV Now is under AT&T’s control, and so AT&T can manage the threat. Thus,

 AT&T executives have discussed



                                                           27
                                                                In addition to launching its own

 virtual MVPD,



VI.      THE EFFECT OF THE AT&T-TIME WARNER MERGER “MAY BE
         SUBSTANTIALLY TO LESSEN COMPETITION”

         As detailed below, the evidence at trial will establish that AT&T’s proposed acquisition

 of Time Warner threatens significant harm to competition and consumers in markets across the

 country. Section A defines the markets that the merger would impact, specifically,

 Multichannel Video Distribution in Local Footprint Overlap Zones. Section B sets out some of

 the reasons that Time Warner content is a critical input for MVPDs and Virtual MVPDs.

         The balance of the section explains the ways the merged entity would deploy that “must

 have” content to lessen competition substantially in the relevant markets. Section C explains

 that the merger would enable AT&T to raise its rivals’ costs. Specifically, with increased

 bargaining leverage, AT&T would raise the programming costs of rival MVPDs and Virtual

 MVPDs, leading to weakened competition and increased prices for consumers. Section D

 describes how the merger would allow AT&T to limit the competitive freedom of its rivals.

 Specifically, AT&T would prevent rival MVPDs and Virtual MVPDs from using HBO to win

 subscribers (e.g., through free trials). Section E explains that the merger would have

 “coordinated effects.” That is, the merger would make it profitable, and likely, for AT&T and




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     PX0046.

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 Comcast/NBCU to coordinate to deny emerging Virtual MVPDs critical inputs, namely, NBC

 and Time Warner programming. These three practices—each alone a violation of Section 7—

 would reinforce one another, inflicting serious harm on competition and consumers.

       A.      Multichannel Video Distribution in Local Competitive Zones Are Relevant
               Markets

       “A court may enjoin a merger based on proof of probable harm to any market alleged.”

 United States v. Anthem, Inc., 236 F. Supp. 3d 171, 193 (D.D.C. 2017). Relevant markets have

 two dimensions: product and geographic area. Id. “Congress prescribed a pragmatic, factual

 approach to the definition of the relevant market and not a formal, legalistic one.” Brown Shoe,

 370 U.S. at 336. “This is because ‘[t]he ‘market,’ as most concepts in law or economics, cannot

 be measured by metes and bounds.’” Anthem, 236 F. Supp. 3d at 193 (quoting Times-Picayune

 Publ’g Co. v. United States, 345 U.S. 594, 611 (1953)).

       Here, the government will prove at trial that distribution of live video programming by

 MVPDs and Virtual MVPDs—the “Multichannel Video Distribution” market—is a relevant

 product market. 28 Additionally, the government will prove that the relevant geographic markets

 are Local Footprint Overlap Zones, where consumers have the same choice of distributors

               1.     Multichannel Video Distribution Is a Relevant Product Market

       Market definition is an inquiry into “whether two products can be used for the same



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   Additionally, the United States will prove that distribution of professionally produced, full-
length video programming subscription services to residential customers—the “All Video
Distribution” market—also is a relevant product market. The All Video Distribution market is
broader than the Multichannel Video Distribution, including not just MVPD and Virtual MVPD
distribution, but SVOD distribution as well. See Brown Shoe, 370 U.S. at 325 (within the “outer
boundaries” of a “broad market, well-defined submarkets may exist which, in themselves,
constitute product markets for antitrust purposes”). Both economic analysis and the Brown Shoe
factors establish that All Video Distribution also is a relevant product market for assessing the
likely effects of the proposed merger. For the reasons discussed in this brief, the merger may
lessen competition substantially in All Video Distribution markets across the country.

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purpose, and if so, whether and to what extent purchasers are willing to substitute one for the

other.” FTC v. Staples, Inc., 970 F. Supp. 1066, 1074 (D.D.C. 1997) (quotation omitted).

Courts look to two types of evidence in defining the product market: “the ‘practical indicia’ set

forth by the Supreme Court in Brown Shoe and testimony from experts in the field of

economics.” FTC v. Sysco Corp., 113 F. Supp. 3d 1, 27 (D.D.C. 2015). In the present case,

both types of evidence establish that Multichannel Video Distribution is a relevant product

market.

                     a.         Economic Analysis Establishes that Multichannel Video
                                Distribution Is a Relevant Product Market

      Courts give substantial weight to economic analysis in defining markets. See, e.g.,

Anthem, 236 F. Supp. 3d at 198-99. Expert economists sometimes apply the “hypothetical

monopolist test” (the HMT), which asks whether a hypothetical profit-maximizing monopolist

of all products within a proposed market likely would impose a “small but significant and non-

transitory increase in price” (a SSNIP) on at least one product sold by the merging firms. See

FTC v. Staples, Inc., 190 F. Supp. 3d 100, 121-22 (D.D.C. 2016). If so, the proposed market is

a relevant product market.

      At trial, one of the government’s experts, Professor Shapiro of the University of

California at Berkeley, will explain that he has performed an HMT for the Multichannel Video

Distribution market, applying a formula accepted in prior litigated cases, and inputting data

from the parties and from third parties. The results show a single firm controlling all

distribution of video programming by MVPDs and Virtual MVPDs in a specified geographic

region would charge significantly higher prices to households in that region for at least one

option, including for DirecTV, than currently charged. Hence, Multichannel Video Distribution

is a relevant product market.


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                        b.     The Brown Shoe Factors Confirm that Multichannel Video
                               Distribution Is a Relevant Product Market

         The Brown Shoe factors confirm Professor Shapiro’s economic analysis. Brown Shoe,

 370 U.S. at 325 (listing factors). The evidence will show that MVPDs and Virtual MVPDs

 compete most closely with each other and are distinct from other forms of video distribution,

 including non-linear content from SVODs and non-professional content.

         First, there is broad industry recognition that Multichannel Video Distribution is a

 distinct product. For example, defendants’ ordinary course documents



               ” 29 Likewise, industry witnesses will testify about important differences between

 Virtual MVPDs and SVODs.

         Second, Multichannel Video Distribution has peculiar characteristics and uses. For

 example, because they provide linear programming, MVPDs and Virtual MVPDs are much

 better suited than other distributors for sports, news, and other live events, which SVODs

 generally do not offer. The vast majority of SVOD subscribers have MVPD or Virtual MVPD

 service as well. Additionally, MVPDs and Virtual MVPDs employ a different business model

 than SVODs, typically selling packages of networks rather than individual programs, and

 earning revenue not just through subscriptions but also through advertising.

         Third, Multichannel Video Distribution has distinct prices. Customers are willing to pay

 higher prices for MVPDs and Virtual MVPDs than for SVODs. And fourth, consumers of

 Multichannel Video Distribution are largely insensitive to price changes. Despite a steady

 increase in the price of Multichannel Video Distribution services, consumers continue to




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 subscribe to these services.

               2.      The Relevant Geographic Markets Are Local Footprint Overlap
                       Zones

       The relevant geographic market is “the region in which the seller operates, and to which

 the purchaser can practicably turn for supplies.” Arch Coal, Inc., 329 F. Supp. 2d at 123. “The

 Supreme Court has recognized that an element of fuzziness would seem inherent in any attempt

 to delineate the relevant geographical market, and therefore such markets need not—indeed

 cannot—be defined with scientific precision.” Sysco, 113 F. Supp. 3d at 48.

       Given DirecTV’s national footprint, consumers across the country would feel the effects

 of the proposed merger. The specific effects will vary from geographic area to geographic area,

 based on the particular distributors serving an area and their market shares within that area.

 Thus, the relevant geographic markets are Local Footprint Overlap Zones—1,174 local

 geographic areas in which consumers have the same choice of distributors.

       As he will explain at trial, Professor Shapiro has identified Local Footprint Overlap

 Zones by (1) analyzing the options available to consumers in every zip code in the United

 States and (2) aggregating into a zone all zip codes in a Designated Metropolitan Area (DMA) 30

 where residents have access to offerings from the same set of competitors. For example, within

 the Washington, DC, DMA, there are 679 zip codes and 11 Local Footprint Overlap Zones.

 Because Multichannel Video Distribution and All Video Distribution consumers can turn only

 to distributors serving their physical locations, and because distributors, in turn, can set prices

 based on their customers’ location (in economic parlance, they can price discriminate), the

 geographic markets properly are defined based on the location of customers. United States v.



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  A DMA is a geographic area that represents specific television markets as defined and updated
annually by the Nielsen Company.

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 Bazaarvoice, Inc., No. 13-cv-00133-WHO, 2014 WL 203966, at *30 (N.D. Cal. Jan. 8, 2014)

 (“Where, as here, a hypothetical monopolist could price discriminate, i.e., set different prices

 for different customers based on customer location, the geographic market is based on the

 location of the customers, not the suppliers.”).

       B.       Time Warner Content Is Key for MVPDs and Virtual MVPDs

       Though defendants pretend otherwise, the reality is that the Time Warner networks are

                             programming. 31 Turner’s portfolio is

                                       ” 32 HBO is “the number-one global leader in premium

 content subscriptions,” in the words of AT&T’s CEO. 33 Thus, Turner and HBO channels are

 material to the competitiveness of MVPD and Virtual MVPD offerings, and the loss of, or

 limits on the use of, this programming would impair a distributor’s ability to attract and retain

 subscribers.

       At trial, a range of testimony and documents from defendants and from other industry

 participants will demonstrate the importance of Time Warner content. MVPDs and Virtual

 MVPDs—including AT&T—consider Time Warner programming to be critical to compete

 effectively. Time Warner, in AT&T’s description, is “the global leader in media and

 entertainment, with terrific brands” and has the “best” content library “on the planet.” 34 In the

 words of AT&T Senior Executive Vice President for Time Warner Merger Integration, John

 Stankey, Time Warner content

         ” 35



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   See, e.g., PX0006; PX0003-017.
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   PX0008-035; PX0081-013.
33
   PX0453-003.
34
   PX0453-002.
35
   Stankey (AT&T) Dep. 279:4-14.

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 to Game of Thrones attract millions of viewers per episode. 45 HBO has exclusive deals for

 recently released theatrical programming with Fox, Universal, Summit, and Warner Bros.

 movie studios.




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         Distributors pay a premium for Time Warner programming.




         Consumers will leave or choose not to join a video distributor if it loses Time Warner

 content. Time Warner executives have considered their ability




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     PX0005-031, -033; PX0062-002.
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     PX0062-007; PX0037; PX0090.

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                                                                            ” 53 YouTube TV

 subsequently reached a deal early in 2018 to carry Turner content, and the content is now

 available on YouTube TV.

       C.      The Merger Would Harm Competition by Empowering AT&T to Raise the
               Programming Costs of its Rivals

       A vertical merger may reduce competition by “foreclosing competitors of the purchasing

 firm in the merger from access to a potential source of supply, or from access on competitive

 terms.” Yankee Entm’t & Sports Network, LLC v. Cablevision Sys. Corp., 224 F. Supp. 2d 657,

 673 (S.D.N.Y. 2002) (emphasis added). The merger may result in rivals “paying more to

 procure necessary inputs.” Sprint Nextel Corp. v. AT&T, Inc., 821 F. Supp. 2d 308, 330

 (D.D.C. 2011). 54

       This merger likely would engender this very type of harm. The evidence will show that

 the merged entity likely would charge rival MVPDs and Virtual MVPDs higher prices for

 competitively significant Turner content, reducing the competitive pressure on DirecTV, and

 increasing prices across the country. At trial, witnesses from the industry will explain the




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   PX0003-013, -017.
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   PX0052-012.
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   PX0003-017; see also PX0052-004.
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   See generally ABA SECTION OF ANTITRUST LAW, MERGERS AND ACQUISITIONS:
UNDERSTANDING THE ANTITRUST ISSUES 383 (4th ed. 2015) (explaining raising-rivals’-cost
theories); Michael Riordan, Competitive Effects of Vertical Integration, in HANDBOOK OF
ANTITRUST ECONOMICS 145, 155-59 (Paolo Buccirossi ed., 2008) (reviewing economic literature
on raising rivals’ costs). The Sherman Act also addresses anticompetitive harm from raising
rivals’ costs. See, e.g., McWane, Inc. v. FTC, 783 F.3d 814, 832 (11th Cir. 2015) (“an exclusive
dealing arrangement can be harmful when it allows a monopolist to maintain its monopoly power
by raising its rivals’ costs sufficiently to prevent them from growing into effective competitors”).

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importance of Turner content and their vulnerability to price increases by the merged firm.

Professor Shapiro will use standard economic tools to illuminate the resulting harm to

competition and consumers. Specifically, he will explain how the merger would increase

Turner’s bargaining leverage, and hence enable Turner to act on its new incentive to raise the

price of its content to rivals. He then will explain economic models he has used to estimate the

harm to consumers, which, even on conservative assumptions, would total hundreds of millions

of dollars per year. Perhaps most telling, though, are the statements by defendants themselves.

              1.     The Parties’ Own Words Confirm the Threat of Harm from a Raising
                     of Rivals’ Costs

      Before deciding to merge, defendants complained to regulators on multiple occasions that

a vertically integrated distributor with control over important programming would limit access

to that programming. For example, in a filing with the Federal Communications Commission

(the FCC) concerning the Comcast/NBCU transaction, DirecTV explained that a vertical

merger “changes the bargaining positions vis-à-vis unaffiliated MVPDs” as “a programmer’s

potential losses from a bargaining impasse are offset to the extent subscribers lost by the

foreclosed MVPD migrate to the affiliated MVPD.” Comments of DirecTV, Inc., In re

Applications of Comcast Corp., General Elec. Co. & NBC Universal, Inc., for Consent to

Assign Licenses & Transfer Control of Licensees, FCC MB Docket No. 10-56, at 11 (June 21,

2010). Thus, the merged entity can present its competitors “with the no-win choice of either

acceding to higher prices (which are likely to be passed along to consumers) or losing access to

broadcast programming, online video, and national networks (depriving viewers of popular

programming and the full benefits of MVPD competition).” Id. at 12. More recently, AT&T

told the FCC in a regulatory proceeding that “[c]able-affiliated programmers retain the

incentive and ability to withhold unique and popular programming to inhibit competition


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 against their downstream cable affiliates” and urged the FCC “to monitor closely developments

 in the video marketplace to ensure that all MVPDs continue to have reasonable access to

 programming that is vertically integrated with cable operators.” Comments of AT&T, In re

 Annual Assessment of the Status of Competition in the Market for the Delivery of Video

 Programming, FCC MB Docket No. 14-16, at 3 (Mar. 21, 2014).

       Defendants’ internal documents also recognize this threat. For example, in a recent

 analysis,



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                                                                                     ” 56




                                     57



              2.     With its Increased Bargaining Leverage, the Merged Firm Would
                     Likely Raise the Price of Turner Content

       The merger would increase Turner’s bargaining leverage against AT&T’s MVPD and

 Virtual MVPD rivals. Today, in negotiating affiliate agreements, Turner takes into account




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   PX0030-010.
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   PX0448-002.
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   PX0231-013.

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 only its potential loss of revenue if it fails to strike a deal with a distributor. The merger would

 alter this calculation. Post-merger, the firm would be able to recapture some of Turner’s lost

 revenue if negotiations with a distributor break down because some subscribers would switch

 from the competing MVPD to AT&T in order to continue to receive the desired Turner content.

 Thus, because both parties at the table know this, Turner’s bargaining leverage would increase

 materially, and AT&T would have the ability and incentive to extract higher prices for its

 content from AT&T’s distributor rivals.

       Professor Shapiro has analyzed the effect of the change in bargaining dynamics using

 bargaining theory, a standard tool in merger analysis. 58 In particular, he has used the “Nash

 Bargaining Model,” a standard model derived from a seminal article by Nobel Laureate John

 Nash, and employed by economists in an array of settings. 59

       The gains from trade in any negotiation depend on each party’s “best alternative to a

 negotiated agreement” (BATNA). The critical insight illustrated by Professor Shapiro’s

 analysis is that the merger increases Turner’s BATNA by combining Turner’s profits with

 AT&T’s. For example, post-merger, if Turner and Charter are unable to reach a deal, the

 merged entity now would realize a benefit in the form of increased profits for DirecTV from

 new subscribers to AT&T’s service gained from Charter as subscribers switch from Charter to

 AT&T to ensure continuity in their reception of the desired Turner content. Accordingly, the

 model predicts that post-merger bargaining between Turner and Charter will result in a higher



58
   Bargaining theory has been used to analyze competitive effects in several recent mergers. See,
e.g., St. Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 786-87
(9th Cir. 2015); FTC v. ProMedica Health Sys., Inc., No. 11-cv-47, 2011 WL 1219281, at *16-
17 (N. D. Ohio Mar. 29, 2011).
59
   See generally Aviv Nevo, Assistant Attorney Gen., Antitrust Dev., U.S. Dep’t of Justice,
Mergers that Increase Bargaining Leverage (Jan. 22, 2014), available at
https://www.justice.gov/atr/speech/mergers-increase-bargaining-leverage.

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 price for Turner content.

       Professor Shapiro has quantified these effects, drawing on documents and data from the

 parties and others in the industry for the key variables in the model: (1) the Turner Subscriber

 Loss Rate, or the share of subscribers that an MVPD would lose if it could not offer Turner

 content, (2) the Diversion Ratio, or the proportion of lost subscribers who would choose

 DirecTV instead of staying with the now-Turner-less MVPD, and (3) DirecTV’s Contribution

 Margin, essentially the profit that DirecTV would realize from a new subscriber. The model

 assumes that parties split the gains from trade equally. Professor Shapiro’s model predicts that

 the merger will cause a price increase to rival MVPDs for Turner content of 18.4% on average,

 translating into a total increase of about $61 million per month or about $731 million per year.

               3.      The Higher Costs AT&T Would Impose on its Rival Distributors
                       Would Weaken Them as Competitors, Harming Consumers
                       Nationwide

       The increased cost of Turner content to its rivals would place an umbrella over DirecTV

 and other AT&T distribution services. Faced with higher costs, rival MVPDs and Virtual

 MVPDs would increase their prices or downgrade their services, and would be less likely to

 engage in price cutting or other aggressive tactics. DirecTV would rest easier and would have

 room to raise its prices or to cut back on service. As he will explain at trial, Professor Shapiro

 has estimated the merger’s impact on consumers using two different methods.

        Importantly, in both calculations, Professor Shapiro has accounted for the elimination of

 double marginalization (EDM). 60 EDM provides that, under certain conditions, a vertical

 merger can create downward pressure on the price charged by the merged firm by eliminating a




60
  Defendants have the burden on efficiencies. See infra Section VII.A. However, Professor
Shapiro has accounted affirmatively for EDM in his estimations of consumer harm.

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 double markup. Here, the EDM effect would arise if, in setting a price for DirecTV post-

 merger, AT&T considers the impact of the price on Turner’s profits. A lower price for

 DirecTV might increase Turner’s profits by increasing the number of subscribers with access to

 Turner content. Thus, the EDM effect depends on a lower DirecTV price attracting new

 subscribers who do not have access to Turner content already. But Turner content is already

 widely distributed, and thus the EDM effect in this case would be much smaller than the effect

 seen in vertical mergers in some other industries. It would be much too small to offset the

 competitive harm.

       First, Professor Shapiro took the net effect of the merger on MVPD prices and applied a

 single rate at which MVPDs would pass through the increased cost to consumers. The net

 effect of the merger on the prices MVPDs pay for Turner content is $30.1 million per month

 (the increased cost to rivals of $60.9 million per month less the savings to DirecTV via EDM of

 $30.8 million per month.) Documentary evidence indicates that MVPDs attempt to pass

 content cost increases through to customers in the form of price increases. In recent years,
                                                                                                61
 AT&T itself

 Thus, consumers would pay between $22.6 and $30.1 million more per month—and between

 $270.9 and $361.2 million more per year—for MVPD service alone.

       Second, Professor Shapiro performed a merger simulation. 62 Specifically, he prepared a

 model of competition among MVPDs in each Local Footprint Overlap Zone that

 simultaneously accounts for the effect of increased costs to rivals and EDM on the prices paid

 by consumers. One key advantage of this model is that it accounts for variations in the



61
  PX0162; PX0115.
62
  A merger simulation is an econometric tool commonly used to quantify the expected harm
from a merger. See, e.g., Sysco, 113 F. Supp. 3d at 66-67.

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competitive dynamics in different Local Footprint Overlap Zones, which affect the strategic

responses of DirecTV and its rivals to changes in their costs. Professor Shapiro’s model

predicts that, nationwide, consumers will pay about $36 million more per month, and about

$436 million more per year, for MVPD services.

      In developing his estimates, Professor Shapiro used conservative estimates of a number

of key inputs. Thus, his calculation likely underestimates the true harm from the merger.

Furthermore, as Professor Shapiro will explain, every model requires some simplifying

assumptions, and in this case the result is that the models do not account fully for all of the

additional incentives the merged entity would have to negotiate higher fees for Turner content.

For example, Virtual MVPDs are particularly vulnerable to the merged firm’s ability to raise

their costs, impose contractual requirements that limit their ability to innovate, or even without

content entirely.

              4.      To the Extent Natural Experiments Exist, They Confirm that AT&T
                      Will Be Able to Raise its Rivals’ Costs

      Relevant natural experiments can be informative regarding the likely anticompetitive

effects from a merger that shares the same key attributes. As described above, one of the key

variables in Professor Shapiro’s model is the Turner Subscriber Loss rate, or the share of

subscribers that an MVPD would lose if it could not offer Turner content. There has never been

a long-term blackout of Turner content, so there are no clear natural experiments that can be

used to measure the Subscriber Loss Rate. The best available evidence is what market

participants expect would happen if such a blackout were to occur, along with other estimates

of how consumers would react, such as the survey conducted by Professor Hauser.

      AT&T points to two blackouts involving the programmer Viacom, owner of cable

networks like Nickelodeon and MTV. Viacom’s content is significantly weaker than Turner.


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 AT&T CEO Randall Stephenson



            63



       Nevertheless, the Suddenlink-Viacom blackout confirms that the Subscriber Loss Rate in

 the event of a Turner blackout would be significant. Professor Shapiro’s analysis shows



 Given Turner’s greater importance, this estimate is consistent with what Professor Shapiro,

 MVPDs, and Virtual MVPDs estimate would occur if they lost Turner.

       Defendants also point to several prior vertical integrations or disintegrations in this

 industry as evidence that no merger of a video distributor and content owner could ever be

 anticompetitive. The folly here is plain: different mergers have different characteristics, and

 each must be examined on its own merits.

       D.        The Merger Would Harm Competition by Constraining AT&T’s Rival
                 Distributors from Effectively Using HBO as a Competitive Tool

       The merged firm also would have the incentive and the ability to prevent rival MVPDs

 and Virtual MVPDs from using HBO to attract and retain subscribers, a common practice that

 forces AT&T to improve its own offerings. 64 Currently, distributors use HBO throughout the

 subscriber lifecycle to acquire subscribers, convince subscribers to upgrade their packages, and

 to retain subscribers.




63
  PX0081-012; Stephenson (AT&T) Dep. 159:22-160:15.
64
  See Yankee Entm’t, 224 F. Supp. 2d at 673 (vertical merger may “reduce competition by …
foreclosing competitors of the purchasing firm in the merger from access to a potential source of
supply, or from access on competitive terms” (emphasis added)).

                                                37
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or Virtual MVPD.

      Currently, HBO works cooperatively with its affiliates given that it benefits from greater

distribution of its content. It also benefits from competition among MVPDs, which tends to

increase HBO’s penetration as affiliates seek to match or beat one another’s offerings while

also enabling HBO to play them off each other in carriage negotiations. Indeed, HBO

sometimes encourages and guides MVPDs on leveraging HBO as a tool to steal rivals’

subscribers and market share. And it is emphatically agnostic regarding which MVPD or

Virtual MVPD its subscribers come through.

      That will change with the merger. AT&T would be far less inclined to allow rivals to use

HBO to win subscribers from DirecTV, as AT&T would have a strong preference that

subscribers access HBO content via DirecTV. It likely would act on these changed incentives

immediately. HBO could limit approvals for the use of HBO in marketing and promotions by

DirecTV’s rivals in a number of ways, including forms of subtle or targeted obstruction. Also,

it could raise the costs of HBO offers and campaigns for rivals by refusing to waive fees during

trial periods or by reducing its funding for cooperative advertising campaigns or insisting that

such funds be used only for upgrade campaigns unlikely to affect DirecTV’s market share.

Additionally, with advanced notice of its rivals’ marketing plans, DirecTV would be better

positioned for countermoves.

      Later, when it renegotiates its affiliate agreements, HBO could demand more restrictive

contractual terms on the use of its content. Even if these tactics resulted in fewer HBO

subscribers total, it could be well worth it for AT&T.

      Thus, the merger would limit drastically an important dimension of competition among

MVPDs and Virtual MVPDs. Consumers would enjoy fewer and less aggressive deals on



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 HBO. More broadly, rivals of the merged firm would be less able to compete aggressively,

 disrupting the competitive process and harming consumers. This restriction, by itself a

 substantial lessening of competition, would compound the harm from the raising of rivals’

 costs, further weakening AT&T’s rivals and reducing the intensity of competition in the

 relevant markets.

       E.      The Merger Would Facilitate Coordination between AT&T and
               Comcast/NBCU to Disadvantage Emerging Virtual MVPD Rivals

       “A merger may diminish competition by enabling or encouraging post-merger

 coordinated interaction among firms in the relevant market that harms customers.” FTC v. OSF

 Healthcare Sys., 852 F. Supp. 2d 1069, 1086 (N.D. Ill. 2012) (quotation omitted). Indeed,

 merger law “rests upon the theory that, where rivals are few, firms will be able to coordinate

 their behavior, either by overt collusion or implicit understanding, in order to restrict output and

 achieve profits above competitive levels.” FTC v. H.J. Heinz Co., 246 F.3d.708, 715 (D.C. Cir.

 2001) (quotation omitted).

       Coordination can occur “either by overt collusion or implicit understanding,” Heinz, 246

 F.3d at 715 (quotation omitted), 69 and “involves a range of conduct, including unspoken

 understandings about how firms will compete or refrain from competing,” H&R Block, 833 F.

 Supp. 2d at 77. Tacit coordination happens when producers recognize their “shared economic

 interests and their interdependence with respect to price and output decisions.” Brooke Group




69
  See generally U.S. Dep’t of Justice & Fed. Trade Comm’n Horizontal Merger Guidelines § 7
(2010) (explaining that a merger can lead to at least three types of coordinated interaction: “the
explicit negotiation of a common understanding,” a “similar common understanding that is not
explicitly negotiated,” and “parallel accommodating conduct not pursuant to a prior
understanding”).

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 Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 227 (1993). 70

       Here, the merger would facilitate coordination between AT&T and Comcast, post-

 merger, the only major vertically integrated distributors. Unlike an independent Time Warner,

 the merged firm would share with Comcast a strong interest in slowing or blocking disruptive

 new entry by Virtual MVPDs. The firms could advance this shared interest by withholding

 from Virtual MVPDs Turner and NBC content—two of the most important network groups for

 Virtual MVPDs— or restricting their use of that content (e.g., by prohibiting inclusion of

 channels in skinny bundles). Because market conditions are conducive to coordination, and

 because a coordinated denial of content to Virtual MVPDs would face relatively few obstacles,

 the merger likely would facilitate coordination and lead to higher prices, fewer options, and

 reduced innovation.

               1.      The Merger Would Change Time Warner’s Posture toward Virtual
                       MVPDs, Creating a Real Danger of Coordination

       Recognizing the company is                      Turner executives have agreed that



                                     ” 71 The merger would take the company decidedly in the

 wrong direction, driving it to make licensing decisions that protect AT&T’s video business to

 the detriment of consumers.

       Thus far, Time Warner has been eager to license its content to Virtual MVPDs. It has

 sought to



70
   Section 7 of the Clayton Act casts a wider net than Section 1 of the Sherman Act, which
requires an agreement. Elders Grain, Inc., 868 F.2d at 905. In fact, tacit coordination “is feared
by antitrust policy even more than express collusion, for tacit coordination, even when observed,
cannot easily be controlled directly by the antitrust laws.” Heinz, 246 F.3d at 725 (quotation
omitted).
71
   PX0035.

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       Seventh, concentrated markets and high barriers to entry are “a recipe” for coordination

 where, as here, both ingredients are present. Heinz, 246 F.3d at 724. Section VII.B below

 discusses barriers to entry. AT&T and Comcast are the top two MVPDs in the country by

 number of subscribers—AT&T/DirecTV with about 25.3 million and Comcast with about 22.5

 million. Adding Charter (17.2 million subscribers) and Dish (13.7 million subscribers), the top

 four firms account for 81 percent of linear pay-TV subscribers. 98

               3.     Coordination Would Reduce Competition from Virtual MVPDs and
                      Mean Higher Prices, Fewer Options, and Less Innovation for
                      Consumers

       As nascent competitors, Virtual MVPDs are particularly vulnerable to an AT&T armed

 with control over Time Warner content. As AT&T recognizes, acquiring programming is




                             99
                                  A document presented to AT&T’s board explained that



                                    100



       Turner content is a critical input for Virtual MVPDs as they seek to win customers away

 from traditional MVPDs. In fact, in the words of Turner’s CEO, John Martin,
                                                 101
                                                       Time Warner believes that




this practice began with DIRECTV in September 2012, but by 2015 most large MVPDs were
using this strategy.”).
98
   Accord Mike Farrell, Top 25 MVPDs, MULTICHANNEL NEWS, Feb. 27, 2017, available at
http://www.multichannel.com/top-25-mvpds/411157.
99
   PX0166-003, -005.
100
    PX0185-035.
101
    PX0004.

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                                                         102




               ” 103 Evidence from the industry will confirm that Turner content is a critical input

 to their Virtual MVPDs.

      . 104

         Thus, a coordinated denial of Turner and NBC content would slow the emergence of

 Virtual MVPDs, and the benefits of additional competition would be delayed or even denied

 altogether to consumers. MVPDs would face less pressure to reduce their prices or to offer new

 packages or better service to compete with Virtual MVPDs. Additionally, innovation by

 Virtual MVPDs, such as offering skinny bundles, would be slowed or stopped.

         AT&T’s own statements erase any doubts as to the plausibility of such a result. AT&T

 has represented to the FCC that industry conditions suit coordination, citing factors such as “a

 small number of competitors, concentrated market shares, and high entry barriers” as relevant

 to the likelihood of “coordinated action to exclude OVDs.” 105 And coordinating to arrest

 emerging threats is top of mind –




102
    PX0195-026.
103
    PX0195-030.
104
    PX0050-002.
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    PX0449-009

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         F.         Defendants’ Contentions Regarding Upstream Market Power Have No Basis
                    in Law or Fact

         Defendants apparently maintain that this merger cannot violate Section 7 unless the

 merging entities have market power in an upstream market and that Turner and HBO lack that

 power. They are wrong on both counts.

         Section 7 proscribes any merger that may harm competition substantially in “any line of

 commerce” in “any section of the country.” 15 U.S.C. § 18 (emphasis added). Thus, under the

 plain language of the statute, a plaintiff need only show competitive harm in one relevant

 market. See Anthem, Inc., 855 F.3d at 349 349. At trial, the United States will show that

 Multichannel Video Distribution in Local Footprint Overlap Zones are relevant markets, and

 that the merger would harm competition in those markets. The law does not require more.

         Nor need the Court make a finding of upstream market power in order to conclude, on the

 facts of this case, that this proposed merger may well lessen competition substantially. As

 described above, real-world evidence and expert testimony will establish the competitive

 significance of Time Warner content and that the merged firm likely would use that content to

 harm its rivals and competition.

         Defendants’ expert economist uses a grab-bag of viewership statistics to claim that

 Turner has a limited share of an ill-defined content market. Professor Shapiro will explain that,

 to the contrary, improperly calculated market shares have limited value in assessing the




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      PX0475-003
107
      PX0475

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competitive significance of highly differentiated products like video content. Instead, the most

informative types of quantitative evidence are subscriber losses (when a distributor loses access

to content) and the affiliate fees—data relied upon by Professor Shapiro in his analysis. These

are direct measures of the competitive significance of Turner content and clearly superior to

defendants’ miscellaneous viewership statistics. In short, defendants present an unnecessary

distraction from the issue before the Court—whether the merger would harm competition in

relevant (downstream) markets—and ignore that the “Supreme Court on more than one

occasion has emphasized that economic realities rather than a formalistic approach must govern

review of antitrust activity.” United States v. Dentsply Int’l, Inc., 399 F.3d 181, 189 (3d Cir.

2005).

      Regardless, the evidence at trial will show that Turner and HBO do have market power.

Market power “is the power to force a purchaser to do something that he would not do in a

competitive market,” Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 464 (1992)

(quotation omitted), or “the ability to raise prices above those that would be charged in a

competitive market,” NCAA v. Bd. of Regents, 468 U.S. 85, 109 n.38 (1984). It is well-

established that a plaintiff can demonstrate market power in two ways: indirectly, through

market definition and shares; or directly, through proof of an anticompetitive effect. See, e.g.,

Toys ‘R Us, Inc. v. FTC, 221 F.3d 928, 937 (7th Cir. 2000).

      As discussed above, the evidence at trial will show that Turner and HBO offer unique

networks that competitors cannot offer, that consumers desire those networks, that those

networks command higher affiliate rates and earn higher margins than other networks, and that

distributors need access to those networks at prices similar to those obtained by rivals to offer

competitive bundles of programming. The evidence at trial further will show that the merged



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 firm likely would raise the prices charged to other MVPDs and to Virtual MVPDs for Turner

 and HBO content.

VII.       DEFENDANTS’ PRO-MERGER ARGUMENTS DON’T HOLD WATER

           Defendants argue that their merger should be permitted because, whatever the evidence

 may be as to its likely anticompetitive effects, (1) the merger would generate significant

 efficiencies, (2) entry is easy, (3) FCC regulations would preclude anticompetitive conduct, and

 (4) their do-it-yourself “cure” would purportedly forestall competitive harm. 108 It is all pie in

 the sky; none of it alters the conclusion that the merger likely would harm competition.

           A.     Claimed Efficiencies Cannot Save This Merger

           “The Supreme Court has never expressly approved an efficiencies defense to a § 7

 claim,” St. Luke’s, 778 F.3d at 788-89, and lower courts have “rarely, if ever,” held that

 efficiencies successfully rebutted the government’s prima facie case, CCC Holdings, 605 F.

 Supp. 2d at 72. This case does not present the Court with reasons to deviate from that general

 result.

           To qualify as a possible antitrust defense, efficiencies must be (i) “reasonably verifiable

 by an independent party,” H&R Block, 833 F. Supp. 2d at 89, and not “mere speculation and

 promises about post-merger behavior,” Heinz, 246 F.3d at 721; and (ii) “merger-specific,”

 meaning “efficiencies that cannot be achieved by either company alone” absent the merger, id.

 at 721-22. “Efficiencies are inherently difficult to verify and quantify and it is incumbent upon

 the merging firms to substantiate efficiency claims.” H&R Block, 833 F. Supp. 2d at 89



108
   The United States does not expect defendants to pursue the “selective enforcement”
affirmative defense set forth in their answer, and, accordingly, does not address that subject in
this Trial Brief. Should it come up trial, however, the reasons it must fail are set forth in this
Court’s February 20, 2018, Order, and the parties’ joint letter submission of February 13, 2018.


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 (quotation omitted). Otherwise, “the efficiencies defense might well swallow the whole of

 Section 7 of the Clayton Act because management would be able to present large efficiencies

 based on its own judgment and the Court would be hard pressed to find otherwise.” Id. at 91.

       Defendants “must also demonstrate that their claimed efficiencies would benefit

 customers.” Sysco, 113 F. Supp. 3d at 82. That is because savings “only improve consumer

 welfare to the extent that they are actually passed through to consumers, rather than simply

 bolstering [the defendant’s] profit margin.” Anthem, 855 F.3d at 362. Further, the efficiencies

 must benefit “the customers in the challenged markets.” United States v. Aetna Inc., 240 F.

 Supp. 3d at 1, 94 (D.D.C.2017) (emphasis added); see also Philadelphia Nat’l Bank, 374 U.S.

 at 370 (“anticompetitive effects in one market” may not be justified by “procompetitive

 consequences in another”).

       Defendants will fall short of showing that their asserted “synergies” (a term they use to

 encompass both cost reductions, a type of efficiency regularly claimed in mergers, and the less

 familiar category of “revenue synergies”) satisfy any of these elements. To begin, examples of

 a lack of verifiability abound.




                    . 109 The largest claimed “revenue synergy” category—

                     —also lacks substantiation.



109
   Figures included here for defendants’ claimed efficiency and synergy dollar values are those
found in the Expert Rebuttal Report of Rajiv Gokhale. They are all stated in terms of earnings
before interest, taxes, depreciation, and amortization (EBITDA).

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      Defendants’ claimed efficiencies also fail to qualify as merger-specific. For example,



                                                        But defendants will be unable to explain

why the same benefits could not be achieved by a contract or joint venture




                                                         —also fail on merger-specificity

grounds. For example, one such item imagines AT&T



                                                                 thus boosting earnings. But

defendants will not give any good reasons to believe that such c                    if profitable,

could not be achieved by contract

      Moreover, in addition to the lack of evidence to show that defendants’ claimed

efficiencies are verifiable and merger-specific, defendants will also fail to show that their

claimed efficiencies are likely to be passed along to consumers in the markets in which

consumers would be harmed. Furthermore, the vast majority of defendants’ claimed cost

efficiencies appear to involve reductions in fixed rather than variable costs. Thus, there is no

reason to believe any of them would benefit consumers, even if they were otherwise cognizable.

See Aetna, 240 F. Supp. 3d at 95 n.50 (“Reductions in fixed costs are even less likely to be

passed on to consumers”).

      B.      Entry Will Not Forestall Harm from the Merger

      Defendants suggest that potential new entry into pay-TV markets will ensure that their

merger is not anticompetitive. But entry must be “timely, likely, and sufficient in its magnitude,

character, or scope to deter or counteract the competitive effects of concern,” H&R Block, 833

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F. Supp. 2d at 73 (quotation omitted), and defendants cannot meet these criteria. Neither entry

upstream in content aggregation nor entry downstream in video distribution will “fill the

competitive void that will result” from the merger. Id. (quotation omitted).

      At the outset, it is important to note that, unlike many horizontal mergers, a vertical

merger may not incentivize new entry. In horizontal mergers, the harm often is a price increase

by the merged entity (and possibly others in the market), which may increase the demand facing

a new entrant and thus encourage entry. A vertical merger, in contrast, need not make new

entry more profitable, and may even make it less profitable.

      Let’s start by examining video content. There is no evidence of likely and timely new

entry that would diminish significantly the importance of the Turner or HBO content. In the

last four years, only one new basic cable network (the SEC Network) was launched in the

United States, according to defendants. The proposed merger would increase already

significant entry barriers by removing current incentives for AT&T, with its approximately 25

million video subscribers, to carry new television networks. There is no indication that the

increased prices for Turner content that will result from the merger will incentivize entry.

Indeed, over the last five years, Turner has been able to impose substantial fee increases for its

primary networks on its MVPD distributors, without significant entry.

      Even if entry by new content aggregators were to occur in the near future, such entry

would not affect significantly the importance of the Time Warner content to MVPDs and

Virtual MVPDs. The Turner networks will continue to own significant amounts of unique,

valuable programming, in particular live sports programming, for the foreseeable future.

Turner has the long-term exclusive licensing rights to numerous marquee live events from

several of the most popular sports leagues, including NCAA Basketball (through 2032), NBA



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(through 2025), MLB (through 2021), PGA (through 2019), and UEFA Champions League

(through 2021). The major programming groups (including Turner NBCU, Fox, and CBS,

among others) continue to command the overwhelming majority of affiliate fees.

      Likewise, entry by MVPDs or Virtual MVPDs will not prevent the anticompetitive

effects of the merger. Most importantly, the merger would increase the costs of AT&T’s rival

video distributors through an increase in the cost of the Turner content, making entry in this

segment less profitable. Likewise, a coordinated denial of Turner and NBC content, which the

merger would facilitate, would make it more difficult for Virtual MVPDs to enter. The

anticompetitive effects of the merger themselves therefore deter rather than invite entry.

      In addition, a number of factors make entry by MVPDs or Virtual MVPDs unlikely to

prevent the anticompetitive effects from the merger. Barriers to entry for MVPDs are high,

including the need to obtain content and to deploy the required infrastructure. Over the last

several years, MVPD entry has largely been limited to footprint expansion by existing MVPDs.

Essentially the only new MVPD entrant has been Alphabet, Inc., which has since effectively

withdrawn from the video distribution markets.

      One major entry barrier is higher content costs for new MVPDs, which typically have to

pay more for the right to distribute the most valuable video content than larger incumbent

MVPDs. Indeed, AT&T itself faced this obstacle following the introduction of its U-verse

MVPD service in 2006. By increasing content costs even more, the proposed merger will

further strengthen this entry barrier.

      While several new Virtual MVPD services were launched in recent years, and additional

entry has been announced, entry or expansion by Virtual MVPDs is nevertheless unlikely to

prevent the competitive harm resulting from the proposed merger. First, growth of Virtual



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 MVPDs is not likely to decrease diversion to AT&T video distribution. Among Virtual

 MVPDs, DirecTV Now has about the same share that DirecTV has among traditional MVPDs.

 Second, as described above, the anticompetitive effects of the merger would make new entry

 difficult. Third, to the extent they obtain Time Warner content at all, Virtual MVPDs will pay

 even higher prices than their MVPD rivals. Indeed, its strategy documents




       The merger would give AT&T the ability to reinforce these entry barriers. AT&T




                             112
                                   Facing these prospects, some companies have abandoned plans

 to launch Virtual MVPD services entirely.

       C.      FCC Regulation Will Not Prevent Harm

       Pursuant to the 1992 Cable Act, the Federal Communications Commission (FCC) has

 enacted program-access rules intended to prohibit a vertically integrated MVPD from engaging

 in certain practices that would restrict other MVPDs’ access to its programming. See 47 U.S.C.

 § 548(b). 113 Contrary to defendants’ argument, the rules are not a remedy for an

 anticompetitive merger. The FCC itself has reached this conclusion, deciding in its review of

 the Comcast/NBCU merger that, “despite the rules,” it was “necessary to impose additional

 transaction-related safeguards as conditions for approving vertical transactions between




112
   See PX0166-004.
113
   The rules serve to prevent (a) a cable owner from engaging in undue or improper influence
over the programmer with which it is integrated; (b) discrimination in prices, terms or conditions
of carriage; and (c) exclusive contracts. 47 U.S.C. § 548(c)(2).

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MVPDs and video programming networks.” Memorandum Opinion and Order, In re

Applications of Comcast Corporation, General Electric Company and NBC Universal, Inc., for

Consent to Assign Licenses and Transfer Control of Licensees, 26 FCC Rcd. 4238 ¶ 35 (2011)

[hereinafter Comcast Order].

      The program-access rules are intended to prevent programmers from discriminating

between MVPDs but cannot prevent Time Warner from increasing prices industrywide. In an

industry where volume discounts are the rule, AT&T, as the largest distributor, ordinarily is

able to obtain the lowest prices in affiliate agreements. After the merger, it could raise the price

it charges itself for Time Warner content, which does not reflect the actual economic cost to

AT&T, and so set a price floor allowing it to raise Time Warner prices for all other distributors.

In its Comcast/NBCU Order, the FCC itself identified this danger: “To facilitate the combined

entity’s exercise of a uniform-price-increase strategy, Comcast could pay the same fees as its

MVPD rivals or could choose to pay the highest fee that NBCU charges a competing MVPD.

Therefore, our program access rules, which address discriminatory pricing, inadequately

address the potential harms presented by the increased ability and incentive of Comcast-NBCU

to uniformly raise Comcast’s rivals’ fees.” Comcast Order ¶ 49. In addition, the program

access rules identify a number of justifications for differential pricing and terms, including

volume discounts. 47 C.F.R. § 76.1002(b)(3).

      Furthermore, the rules would not prevent the merged entity from using permanent

foreclosure as a threat point in bargaining negotiations with rival MVPDs. The rules ensure

that a video programmer engages with a MVPD that seeks to negotiate for the right to carry its

programming, but do not ensure that an agreement will be reached. See First Report and Order,

In re Implementation of Sections 12 and 19 of the Cable Television Consumer Protection and



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Competition Act of 1992 Development of Competition and Diversity in Video Programming

Distribution and Carriage, 8 FCC Rcd. 3359 (1993) [hereinafter First Report]. The FCC has

emphasized the distinction between actionable behavior, like “unreasonable refusals to sell,”

and “certain legitimate reasons that could prevent a contract between a vendor and a particular

distributor.” See Memorandum Opinion and Order, In re RCN Telecom vs. Cablevision Systems

Corp., et al.; Microwave Satellite Technologies, Inc., vs. Cablevision Systems Corp. et al., 14

FCC Rcd. 17093 ¶¶ 3, 4 (1999). Specifically, the FCC has identified as examples of legitimate

reasons for not reaching an agreement as “an impasse on particular terms” or “a vendor’s

preference not to sell a program package in a particular area for reasons unrelated to … a

specific distributor.” See First Report, 8 FCCRcd 3359. And as noted, the rules allow volume

discounts, i.e., differences in prices, terms, or conditions. 47 C.F.R. § 76.1002(b)(3). Barring

an FCC determination that the terms, prices, or conditions offered by a programmer violate the

rules, the FCC will not order a programmer to supply programming. Id.

      Moreover, the FCC would grant relief only after a lengthy and expensive regulatory

process, and an MVPD subject to anticompetitive tactics may well be dissuaded from filing a

complaint or pressured to settle early. As AT&T and DirecTV both have explained, “the threat

of adjudication does not dissuade vertically integrated cable operators and their affiliated

programmers from engaging in anticompetitive withholding,” and “a case-by-case process takes

far too long (in some cases, several years) to redress such conduct, during which consumers are

deprived of the programming and competitive alternatives they desire, contrary to congressional

objectives.” Reply Comments of AT&T, Inc., In re Revision of FCC’s Program Access Rules,




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 FCC MB Docket No. 12-68, at 23 (July 23, 2012). 114 In particular, “[n]umerous factors deter

 small and mid-sized cable operators from filing complaints” under the program access rules.

 “[C]able operators and programmers develop long-term ‘buyer/seller’ relationships that involve

 recurring negotiations” and “[f]iling complaints creates real risk of straining those

 relationships.” Beyond the potential for “damaging relationships with large programmers,” the

 evidentiary burdens to show differences in the rates charged to other MVPDs can be difficult to

 know “given the confidential nature of programming network affiliation agreements….”

 Comments of Cox Communications, Inc., In re Revision of the Commission’s Program Access

 Rules, MB Docket No. 12-68, at 6 (June 22, 2012).

       And finally, the rules do not protect the newest forms of competition, Virtual MVPDs

 and other new online distributors, Order, In re Sky Angel U.S., LLC Emergency Petition for

 Temporary Standstill, 25 FCC Rcd. 3879 ¶ 7 (2010), and thus in no way address the harm

 resulting from lessened competition from Virtual MVPDs.

       D.      Defendants’ Do-It-Yourself “Cure” Is No Substitute for Lost Competition
               and Cannot Remedy Likely Harm

       Defendants boldly assert that they themselves have devised a plan to avoid causing the

 harm that would otherwise flow from the proposed merger. How? With a self-created

 arbitration proposal they claim to have modeled on provisions in the FCC’s order and the

 Department of Justice’s consent decree regarding Comcast’s acquisition of NBC Universal.

 Specifically, Turner has offered to distributors licensing terms that, for seven years after the

 closing of the merger, allow the distributor to invoke “baseball-style” arbitration if the parties




114
   See also PX0443-006 (rules “demand that MVPDs devote enormous amounts of time and
money (more than two years for the recent AT&T and Verizon complaints against Cablevision)
to prove harm” (emphasis in original)).

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fail to reach an agreement on mutually acceptable terms for certain Turner content. Each party

submits a final offer of a complete carriage agreement to the arbitrator, the parties conduct

discovery, and the arbitrator picks the offer best representing “fair market value,” a term

undefined in the offer and not used in the ordinary course of Turner’s business. Turner would

be prohibited from withholding the content once the distributor has noticed its intent to arbitrate

and so long as the distributor continues the arbitration proceeding.

      Defendants admit they offered this “contractual commitment” only because of this

lawsuit. The response of MVPDs and Virtual MVPDs has been underwhelming.




      This response is not surprising as the offer fails in many ways to address the threatened

harm to competition. To the extent defendants’ arbitration proposal should even be considered

a “remedy” (since it does not restore competition that will be lost through the merger),

defendants will fall short of carrying their burden of showing it would “redress the violations.”

Sysco, 113 F. Supp. 3d at 72 (quoting Ford Motor Co., 405 U.S. at 573). “[I]t is well settled

that once the Government has successfully borne the considerable burden of establishing a

violation of law, all doubts as to remedy are to be resolved in its favor.” Ford Motor Co., 405

U.S. at 575 (quoting du Pont, 366 U.S. at 334). Defendants “bear the burden of showing that

any proposed remedy would negate any anticompetitive effects of the merger.” FTC v. Staples,

Inc., 190 F. Supp. 3d 100, 137 n.15 (D.D.C. 2016) and would preserve the terms of carriage

agreements between Time Warner and video distributors that would exist “but for” the altered

incentives of the merger. That burden includes “producing evidence that the [remedy] will



                                               62
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 actually occur,” Aetna, 240 F. Supp. 3d at 60, and “will remedy the anticompetitive effects of

 the merger,” Sysco, 113 F. Supp. 3d at 78.

       Defendants rest heavily on the argument that their arbitration proposal is “the same sort”

 as the arbitration conditions in the decrees in the Comcast/NBCU merger. Answer ¶ 8. But this

 is a different transaction, and defendants’ remedy has material weaknesses as compared to the

 combined FCC and Department of Justice conditions, including the following. First, the

 combined remedies imposed a wider range of behavioral conditions, including, for example,

 prohibitions on a range of retaliatory and discriminatory conduct. Second, the FCC, an expert

 agency with long experience administering arbitrations, is not available to manage these

 arbitrations or to hear appeals; in fact, AT&T deliberately structured the deal to avoid FCC

 jurisdiction. Third, DirecTV provides MVPD service nationally, which means that there is no

 control group of regional peers here that could to serve as a baseline in determining what

 constitutes “fair market value” during an arbitration. Finally, the FCC Order provided that any

 arbitration award would be subject to de novo review at the FCC, 115 and of course this Court

 retained jurisdiction to enforce compliance with the consent decree. 116

       Evaluated on its merits, the offer plainly fails to “eliminate the concern about potential

 anticompetitive effects” of the proposed merger. OSF Healthcare Sys., 852 F. Supp. 2d at

 1086. First, and fundamentally, defendants’ proposal does not change the incentives of the

 merged firm to engage in anticompetitive behavior. At trial, Professor John E. Kwoka of

 Northeastern University, one of the government’s expert economists, will explain that the offer



115
    Memorandum Opinion and Order, In re Applications of Comcast Corporation, General
Electric Company and NBC Universal, Inc., for Consent to Assign Licenses and Transfer
Control of Licensees, 26 FCC Rcd. 4238 ¶ 131 (2011).
116
    Final Judgment at 32, United States v. Comcast Corp., No. 1:11-cv-00106 (D.D.C. Sept. 1,
2011)

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has properties of a conduct (or behavioral) remedy rather than a divestiture (or structural)

remedy. Divestiture entails the sale of assets causing competitive concern (e.g., an overlapping

business in a horizontal merger, an input that could be used to harm downstream competitors in

a vertical merger) in order to preserve incentives to engage in independent competitive

behavior. In contrast, a conduct remedy does not change the anticompetitive incentives of the

merged firm, but rather attempts to prevent it from acting on its incentives by prohibiting

specific anticompetitive practices. Thus, to be effective, a remedy in this case would have to

anticipate and “be detailed enough to cover in advance all the many fashions in which improper

influence might manifest itself.” du Pont, 366 U.S. at 334.

      Second, the arbitrator’s directive to choose the offer approximating the “fair market

value” of Turner networks is not the same as the antitrust objective of preserving competition.

The term “fair market value” is not defined in the offer, and is not used in ordinary course of

Turner’s business. And as Prof. Kwoka will explain, terms that represent “fair market value”

are not necessarily the same as the prices and terms that would be negotiated in the marketplace

“but for” the merger. Additionally, there would be few, if any, truly comparable contracts for

an arbitrator to use as benchmarks. Moreover, a reliance on benchmarks would exacerbate the

loss of dynamics of competition—for example, a distributor would be less likely to propose,

and Turner would be less likely to accept, new contractual terms that enable innovative

business models. In short, arbitration simply would not “effectively preserve competition in the

relevant market.” Sysco, 113 F. Supp. 3d at 73 (quotation omitted).

      Third, the offer does not even address all of the harms alleged in the Complaint, much

less all of the ways the merged entity might use its control of Time Warner content to harm

rivals in the future. For example, the offer does not apply to HBO or new Turner content, and



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 is not available to certain new entrants. Nor does it address coordination between NBC

 Universal and the merged entity.

          Fourth, arbitration is not a practical alternative for all distributors. Video distributors

 view arbitration as costly and risky, with both informational and risk asymmetries that favor

 Turner. Also, a distributor may fear retribution in other areas of its relationship with the

 merged entity if it proceeds to arbitration on this single issue. Accordingly, distributors are

 wary that an adverse arbitration decision could put them in a worse position than not carrying

 the Turner content.

          Fifth, the arbitration proposal is time-limited. Defendants cannot establish that the

 market will have changed sufficiently by the time it expires so that the merged entity no longer

 has the incentive and the ability to harm competition. In fact, both the FCC Order and the

 Department of Justice consent decree had similar seven-year terms, and evidence will show that

 MVPDs are concerned about anticompetitive behavior when all conditions expire this year.

          Sixth, it is questionable whether the “contractual commitment” is enforceable or whether

 the offer is “irrevocable,” as defendants’ maintain. A video distributor who accepts the offer is

 “giving up nothing” in return, thereby raising the question as to whether adequate consideration

 has been provided in exchange. 117 Moreover, as a matter of contract law, an offer is not

 binding on the offeree until acceptance, and an offeree may revoke its offer at any time prior to

 acceptance. Restatement (Second) of Contracts §§ 36, 42. 118 There would be no recourse

 should, post-merger, AT&T-Time Warner revoke the offer to those video distributors who have

 not accepted it.




117
      PX0499-018.
118
      The offer does not contain a choice-of-law clause.

                                                    65
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       Seventh, the remedy is unsupervised. 119 The Government, the FCC, and this Court would

 be powerless to enforce the offer. Hence, the vital public interest in the enforcement of the

 antitrust laws would be entrusted to private actors alone through contract. 120

       Finally, defendants’ claim that the Government’s request for divestiture represents an

 “abrupt departure from precedent,” Answer ¶ 8, must rest on a gerrymandered body of

 “precedent.” To be sure, “in appropriate cases vertical merger matters the Division will

 consider tailored conduct remedies.” U.S. Dep’t of Justice, Antitrust Division Policy Guide to

 Merger Remedies 5 (June 2011) (emphasis added). But “the Division also will consider

 structural remedies in vertical merger matters,” id., and has sought structural relief for vertical

 mergers regularly. 121 As the Supreme Court summarized in a vertical-merger case, “Complete

 divestiture is particularly appropriate where asset or stock acquisitions violated the antitrust

 laws.” Ford Motor, 405 U.S. at 573. As suggested above, divestiture is “a simple, relatively

 easy to administer, and sure” remedy, du Pont, 366 U.S. at 331, compared to a conduct remedy

 that “would probably involve the courts and the Government in regulation of private affairs



119
    PX0499-026 (explaining that there are no appeal rights to the DOJ, FCC or this Court under
the arbitration offer).
120
    Cf. United States v. Borden, 347 U.S. 514, 519 (1954) (“the Government’s right and duty to
seek an injunction to protect the public interest exist without regard to any private suit or
decree”).
121
    See e.g., Memo. Op. at 6, United States v. United Tech. Corp., No. 12-cv-1230 (May 29,
2013); Competitive Impact Statement at 11, United States v. Premdor Inc., No 01-cv-D1696
(Aug. 3, 2001); Competitive Impact Statement at 9, United States v. Enova Corp., No 98-cv-583
(June 8, 1998); see also American Antitrust Institute, AAI Applauds Move to Block AT&T-
Time Warner Merger 3 (Dec. 6, 2017), available at http://www.antitrustinstitute.org/content/aai-
applauds-move-block-att-time-warner-merger-sets-record-straight-vertical-merger (“From 1994
to 2016, for example, about 27% of the total remedies taken by the DOJ and FTC in vertical
merger cases were structural and about 73% were conduct-related.”); D. Bruce Hoffman, Acting
Dir., Bureau of Competition, Fed. Trade Comm’n, Vertical Merger Enforcement at the FTC 8
(Jan. 10, 2018), available at https://www.ftc.gov/public-statements/2018/01/vertical-merger-
enforcement-ftc (“no one should be surprised if the FTC requires structural relief” because “we
start by looking at structural remedies for most vertical mergers”).

                                                 66
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 more deeply than the administration of a simple order of divestiture,” id. at 334.

VIII. TRIAL PRESENTATION

       As with most civil trials, the evidence will consist primarily of documents, deposition

 designations, and live witnesses.

       Documents. This trial will have quite a few documents, but not an overwhelming

 number. Because defendants, like most large corporations, extensively use email,

 presentations, and memoranda in conducting their business, it is essential to see their

 documents to understand key facts. Recognizing that these documents help prove critical

 factual elements of the government’s case, defendants have spent much time trying to distance

 themselves from them in pre-trial discovery—and are fully expected to continue such denial

 during trial. For example, faced with corporate strategy documents that support our case,

 AT&T’s CEO diminished the work of AT&T’s large and well-paid strategic planning group,

 dismissively stating that he alone makes all strategic planning decisions for the company. The

 reason for defendants’ tactic is obvious: defendants’ documents show that AT&T can use Time

 Warner content to raise rivals’ costs and to impede innovative new competitors from becoming

 viable substitutes for the pay-TV business, just as the government alleges.

       Live witnesses. The live witnesses at trial generally will be of three kinds: defendants’

 own employees, experts and third party industry witnesses. 122

       Defendant’s employees. The testimony of defendants’ employees will be of two very

 different stripes. First, the government will use concessions made and documents written by




122
   We expect few actual readings (or showings) of deposition designations at trial but some
submissions will be made to the Court to establish certain largely non-controversial factual
assertions, provide evidentiary foundations for the admission of documents, or as party
admissions.

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 many of these employees to support its case. Second, defendants will call their employees to

 try to spin a different narrative that supports allowing the challenged merger to proceed.

       Experts. There could be quite a few expert witnesses at trial—each side will undoubtedly

 call an economic expert. Both of the economic experts—Professor Carl Shapiro from the

 University of California at Berkeley for the United States, and Professor Dennis Carlton from

 the University of Chicago for defendants—are distinguished academics supported by

 professional economic support shops. Unlike Professor Carlton, however, Professor Shapiro

 has modeled the likely effects of the transaction. This work predicts significant harm to

 consumers.

       Industry witnesses. The United States also will be calling a number of third-party

 industry witnesses to testify in this case. They have spent their careers in this industry and thus

 have views are that are particularly well informed. Several of the government’s video

 distributor witnesses will testify about the importance of Turner content, particularly live sports

 and news, to their customers; how and with whom they compete for customers; how they

 negotiate for content rights and how they believe AT&T’s incentives will change if this deal

 goes through; and how that would impact the distributor’s future content negotiations with

 AT&T.

       To be sure, defendants will try to undermine this testimony, but the heart of the testimony

 by these especially knowledgeable witnesses who live with the market dynamics this case

 involves, day-in and day-out, reflects reality, and the Court should give it great weight.

IX.    CONCLUSION

               As this trial brief has laid out, the evidence at trial will show, that the effect of the

 proposed acquisition of Time Warner by AT&T may be substantially to lessen competition.

 Accordingly, the Court should permanently enjoin AT&T from acquiring Time Warner.

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      Dated: March 9, 2018

                                                                  Respectfully submitted,



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                                     APPENDIX A
      This appendix defines some terms commonly used in the subscription TV industry, which

appear in this brief and which the Court is likely to hear at trial.

      “ACPU” - Average Cost Per Unit – Total cost of production divided by the number of

units produced. For an MVPD or Virtual MVPD provider, it is usually the programming costs

for the channels the system carries divided by the number of multichannel subscribers.

      Affiliate Agreement/Distribution Agreement/Carriage Agreement – Cable and

broadcast network owners negotiate with distributors regarding the distribution rights for the

networks. This is usually a multi-year television programming contract that outlines how much

the distributor will pay the network in order to carry the programming for each of the

distributor’s subscribers, among other terms and conditions.

      “ARPU” - Average Revenue Per Unit – ARPU measures the average revenue generated

per telephone, wireless, broadband or TV user per month, and is used to compare various

companies, as well as internally to spot lagging product lines.

      Authenticate – Using the login/password provided by your TV provider to validate that

the content you are trying to watch online is in fact part of your pay TV package.

      “AVOD” - Advertising-Supported Video on Demand – Video content is “free” to

watch for viewers in return for them watching advertising. Content owners or video platforms,

like YouTube, use advertising in and around videos to make money.

      Blackout – There are two types of blackouts: 1) when a home sporting event is not

carried by local TV because of contractual agreement or regulations imposed by a league; and

2) when a programmer and distributor are unable to reach an affiliate agreement, the

programmer may “go dark” on the distributor, or the distributor may “take down” the disputed


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channels resulting in the affected distributor’s subscribers being unable to access the disputed

channels for the duration of the blackout.

      Broadcast Network/Commercial Broadcast Network – A production and/or

distribution company which commissions or acquires the rights to television programs and

series and distributes them to a group of affiliated broadcasting stations, which also supply local

content. Examples include: ABC, CBS, NBC, FOX and The CW.

      “CAGR” - Compound Annual Growth Rate – CAGR is the average annual growth

rate of an investment over a specified period of time, longer than one year.

      Churn – Churn is a measurement of the percent of customers who leave a distributor

each month for various reasons, either for voluntary or involuntary reasons. Customers who

voluntarily churn usually leave to buy a competing distribution service.

      “CID” - Civil Investigative Demand – A request for documents and information sent to

a Third-Party during an investigation.

      Connected TV (CTV)/Smart TV – A digital television set or set top box which can

access the Internet and streaming media, and run apps.

      Cord Cutter – A person who switches from a pay TV subscription service (MVPD or

Virtual MVPD) to an Internet-based streaming service such as Netflix.

      Cord Never – Someone who has never paid for a pay TV subscription service.

      Cord Shaver – A pay TV subscriber who has reduced her pay TV fees by eliminating

certain channels, or downgrading packages.

      CPM – Advertisers’ cost per thousand viewers exposed to a commercial. The total cost

for one or a series of commercials is divided by the projected audience shown in thousands.

      “DAI” - Dynamic Ad Insertion – A server-side video ad technology that enables you to



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serve video ads into live linear programming and video on demand content. DAI stitches your

video content and ads into a single stream, independent of a web page or app. DAI can stitch

custom targeted video ads into the stream, based on the individual user viewing the content.

      Double Marginalization – The phenomenon in which different firms in the same

industry that have their respective market powers but at different vertical levels in the supply

chain (i.e. upstream and downstream) apply their own markups in prices. Due to these markups

individually, a deadweight loss is induced and because of both markups, the deadweight loss

occurs twice thus making it worse off for the whole market.

      “DTC” - Direct to Consumer – Bypassing traditional distributors to sell directly to

consumers, such as CBS All Access and HBO NOW.

      “EDM” - Elimination of Double Marginalization – Integrating two firms within

different vertical levels in the supply chain can eliminate double marginalization, by reducing at

least one of the dead weight losses.

      “HHI” - Herfindahl-Hirschman Index – A commonly accepted measure of market

concentration, which is calculated by squaring the market share of each firm competing in a

market, and then summing the resulting numbers, and can range from close to zero to 10,000.

      Linear Channel – Video programming viewable on a specific channel at a specific time

of day.

      Major Studio – Film production and distribution companies that release a substantial

number of films every year and earn a major portion of box office revenues. The Major Studios

currently are 20th Century Fox, Warner Bros., Paramount Pictures, Sony Pictures, Universal

Pictures, and Walt Disney Pictures.

      “MFN” - Most Favored Nations – A contractual provision in which a programmer



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guarantees a distributor that it will receive prices and/or terms that are at least as favorable as

those provided to other distributors of the same programming.

       “MVPD” - Multichannel Video Programming Distributor – A distributor that

delivers, through its own facilities that it controls, multiple channels of video programming

available for purchase by subscribers or customers, via cable, direct broadcast satellite (DBS),

or fiber optic. Most of today’s MVPDs also offer Internet and phone services as core elements

of their business models. Examples include AT&T (U-verse and DIRECTV), Cable One,

Charter, Comcast, Cox, DISH, and RCN.

       “OTA” - Over-the-air – A mode of transmission where a feed of programming is

delivered to an antenna over the air, rather than over the Internet or facilities like cable or

satellite.

       “OTT” - Over-the-top – A mode of transmission through which a product, often an app

or website, is delivered over the Internet and bypasses traditional distribution. Examples

include Sony PlayStation Vue and Hulu.

       “OVD” - Online Video Distributor – An entity that distributes video programming via

internet connection.

       Overbuild – A cable system built in an area where another cable system has established

service. The competing cable operator is known as an overbuilder, such as RCN.

       “PPV” - Pay-per-view – Payment made for individual programs rather than for monthly

service, usually for major sports events or blockbuster films.

       Programmer – A Programmer purchases content, such as TV shows, movies, sports

rights, etc., aggregates the content into channels, and sells those channels to MVPDs and

vMVPDs, such as Cox and DISH Sling TV. Examples include Time Warner Inc. (Turner and



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HBO), The Walt Disney Company, and CBS.

      “PSPM” - Per Subscriber Per Month – The fee that distributors pay programmers to

carry their content.

      “RSN” - Regional Sports Network – Any non-broadcast video programming service

that 1) provides live or same-day distribution within a limited geographic region of sporting

events of a sport team that is a member of Major League Baseball, the National Basketball

Association, the National Football League, the National Hockey League, NASCAR, NCAA

Division I Football, NCAA Division I Basketball, and 2) in any year, carries a minimum of

either 100 hours of programming that meets the previous criteria, or 10% of the regular season

games of at least one sports team that meets the previous criteria. Examples include the

Yankees Entertainment and Sports Network (YES), and SportsNet LA, which carries games

and programming related to the Los Angeles Dodgers.

      “SAC” - Subscriber Acquisition Cost – The amount the distributor pays to sign up a

new subscriber. (i.e. for DIRECTV, this typically covers things like the DVR and satellite dish,

including installation and marketing).

      Skinny Bundle – Video packages that include a limited selection of channels at a lower

price point than other distribution service, such as DISH Sling TV.

      “SVOD” - Subscription Video on Demand – Examples include Amazon Prime, Hulu,

and Netflix.

      “TVE” - TV Everywhere – The ability to watch content that is part of your pay TV

package on the Internet, through a variety of devices, such as a phone, laptop, or tablet. TVE

must be authenticated using an MVPD or Virtual MVPD subscription log in information, and

can be accessed through websites and apps.



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      Video Distributor – MVPD or OVD that sells packages of programming to subscribers.

Examples include AT&T, Cable One, Charter, Comcast, Cox, DISH, DISH Sling TV, Google

YouTube TV, Hulu, Netflix, RCN, and Sony PlayStation Vue.

      “vMVPD” - Virtual MVPD – Acts in the same way as a traditional cable or satellite

provider, but delivers linear television via an internet connection. Examples include DISH

Sling TV, DIRECTV Now, Google YouTube TV, and Sony PlayStation Vue.

      “VOD” – Video on Demand/On Demand – An entertainment service that allows

viewers instant access to content such as movies, cable series, original programs, educational

programs, premium channels, news, sports, etc. Programming from content providers is

delivered by consumer’s cable company and may be free, subscription-based, or paid for on a

pay-per-view basis. With On Demand service, consumers can control what they watch and

when, with features such as play, pause, fast-forward, rewind, and stop, which is in contrast

with linear programming.

      Window – The period during which a network or other distributor has contractual rights

to show or sell a program.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 9, 2018, a true and correct copy of the foregoing was

served on all counsel of record via email.

                                             /s/ Craig Conrath
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